                                                                   THIS ORDER IS APPROVED.


                                                                    Dated: July 29, 2019



                                                                   _________________________________
                                                                   Scott H. Gan, Bankruptcy Judge




                          UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF ARIZONA


In re                                     )
                                          )                  Involuntary Chapter 7
IRENE OQ ROTHES                           )
                                          )                  Case No. 4:19-bk-03643-SHG
                                          )
                                          )                  ORDER TO SHOW CAUSE
                        Alleged Debtor.   )
__________________________________________)


        Petitioning creditors having filed an involuntary petition against the above-named debtor

on March 29, 2019, and the petitioning creditors having failed to file evidence that they have

served the involuntary petition and summons within 120 days of the filing of the involuntary

petition,

        IT IS ORDERED that the petitioning creditors appear at the United States Bankruptcy

Court, James A. Walsh Federal Courthouse, 38 S. Scott Avenue, Courtroom 329, Tucson, AZ

85701, with video available at U.S. Courthouse and Federal Building , 230 N. First Ave., 3rd

Floor, Courtroom 301, Phoenix, AZ 85003, on Tuesday, August 13, 2019 at 2:30 p.m.

to show cause, if any there be, why the involuntary petition should not be dismissed for failure to

make service.


Copies to be mailed by the BNC to:
Attorney for Petitioning Creditors
Pro Se Petitioning Creditors
Alleged Debtor
United States Trustee
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